
USCA1 Opinion

	




          June 23, 1994     UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                              _________________________          No. 93-2227                             AIR LINE PILOTS ASSOCIATION,                                 Plaintiff, Appellee,                                          v.                           PRECISION VALLEY AVIATION, INC.,                                Defendant, Appellant.                              _________________________                                     ERRATA SHEET                                     ERRATA SHEET               The opinion of the court issued on June 7, 1994 is corrected          as follows:               On page 16, line 13,  at the end of the sentence,  after the          word "further."   add a new footnote number 7.            7. The current version  of Fed. R. Civ. P.  5(e) provides,               inter  alia,  that "[t]he  clerk  shall  not refuse  to               _____  ____               accept for filing any  paper presented for that purpose               solely  because it is  not presented in  proper form as               required  by   these  rules  or  any   local  rules  or               practices."   Appellant  neither  cited  this rule  nor               relied  on it in any way and has, therefore, waived any               potential benefit which might accrue from it.  For this               reason, we do not refer to the rule in the body of this               opinion.   But we note that, in all events, the clerk's               refusal to accept the noncompliant motion for filing in               this case was backed by the judge's specific order, see                                                                   ___               Chronology,  supra, at  No.  4, leaving  the record  in                            _____               essentially the  same posture as though  the motion had               been  received  and  then  stricken.   Any  error  was,               therefore, harmless.                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                              _________________________          No. 93-2227                             AIR LINE PILOTS ASSOCIATION,                                 Plaintiff, Appellee,                                          v.                           PRECISION VALLEY AVIATION, INC.,                                Defendant, Appellant.                              _________________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF NEW HAMPSHIRE                 [Hon. Joseph A. DiClerico, Jr., U.S. District Judge]                                                 ___________________                              _________________________                                        Before                                Selya, Circuit Judge,                                       _____________                            Bownes, Senior Circuit Judge,                                    ____________________                              and Boudin, Circuit Judge.                                          _____________                              _________________________               E. Scott Smith, with whom Michael J. Minerva, Jr. and Ford &amp;               ______________            _______________________     ______          Harrison were on brief, for appellant.          ________               Jerry D. Anker for appellee.               ______________                              _________________________                                     June 7, 1994                              _________________________                    SELYA, Circuit Judge.  This case took wing when the Air                    SELYA, Circuit Judge.                           _____________          Line  Pilots  Association  (ALPA),  a  labor  organization,  sued          defendant-appellant Precision Valley  Aviation, Inc.  (Precision)          to  compel arbitration of a  grievance initiated by  the union on          behalf  of  certain probationary  employees  (all  pilots).   The          district  court  ordered  Precision  to  arbitrate  the  dispute.          Precision now seeks to test the substance of the district court's          order.   We  do  not  reach that  destination:    the absence  of          appellate jurisdiction defeats the main thrust of the appeal, and          what remains does not require us to extend our flight much beyond          takeoff.                                          I.                                          I.                                          __                                     A Chronology                                     A Chronology                                     ____________                    This appeal is enveloped in  a jurisdictional fog.   We          attempt to clear the air by chronicling the events that frame the          jurisdictional issue.                         1.August 17, 1993:  The  district court,                           _______________                    acting  on a  motion  for  summary  judgment,                    entered  a final judgment  in ALPA's favor on                    count 1 of its complaint.  At  the same time,                    the court dismissed count 2 of the  complaint                    for want of subject matter jurisdiction.  The                    second  part   of   the  court's   order   is                    immaterial to this appeal.                         2.August 30, 1993:   Precision attempted                           _______________                    to  move for  reconsideration, but  failed to                    comply  with  an   applicable  local   rule.1                                        ____________________               1District courts are empowered  to make local rules for  the          administration of the court docket.  See Fed. R. Civ. P. 83.  The                                               ___          District of New Hampshire  has promulgated a set of  local rules.          One  such rule provides that, with regard to most motions, "[t]he          moving party shall certify to  the court that he has made  a good          faith  attempt  to  obtain  concurrence in  the  relief  sought."                                          3                    Consequently, the clerk  of court refused  to                    accept the defective pleading (which we shall                    refer  to  as  the  noncompliant  motion) for                    filing.                         3.August 31, 1993.  The  district court,                           _______________                    acting  at ALPA's request, entered an amended                    judgment  clarifying  the original  judgment.                    On the same date, Precision filed a notice of                    appeal.                         4.September 1, 1993:  The district court                           _________________                    entered  an "Order  of Refusal  of Pleading,"                    endorsing  the clerk's  refusal to  place the                    noncompliant motion on record.                         5.September 9, 1993:  Precision served a                           _________________                    new motion for reconsideration of  the August                    17  judgment.    This  motion  satisfied  the                    requirements of the local rules.                         6.September 10, 1993:   Precision  filed                           __________________                    the September 9 motion in the clerk's office.                    It also requested a  stay of judgment pending                    appeal.  On the same date, Precision withdrew                    its first notice of appeal.                         7.September  22,  1993:    The  district                           ____________________                    court   entered   an   order   declining   to                    reconsider  the  final  judgment and  denying                    Precision's request  for a  stay.   The court                    stated  that  a  motion  for  reconsideration                    should have been  served on or before  August                    27,  and  that   Precision's  efforts   were,                    therefore,  untimely.    The court  erred  in                    identifying the end date; taking into account                    the  special directives  of the  Civil Rules,                    see   Fed.  R.   Civ.  P.   6(a)  (explaining                    ___                    principles  governing computation  of periods                    of 10  days or  less), the 10-day  period for                    filing  a   motion  to  alter  or  amend  the                    judgment, Fed.  R.  Civ. P.  59(e),  did  not                    expire until August 31.                                        ____________________          D.N.H.  Loc. R.  11(b).   This rule  applies foursquare  to post-          judgment  motions (such  as  are at  issue in  this  case).   See                                                                        ___          Clausen  v. Sea-3, Inc.,  ___ F.3d ___, ___  (1st Cir. 1994) [No.          _______     ___________          93-1106, slip  op.  at  42]  (explaining that  Local  Rule  11(b)          applies  to all motions other than those filed during trial); see                                                                        ___          also D.N.H. Loc. R. 11(a)(1).          ____                                          4                         8.October  7, 1993:   Precision  filed a                           ________________                    motion for reconsideration  of the  September                    22  order (having  served  the  motion a  day                    earlier).   In this motion, Precision pointed                    out  the  court's  computational   error  and                    contended  that  the noncompliant  motion met                    the applicable time constraints.                         9.October    12,    1993:       Although                           ______________________                    acknowledging  its  computational error,  the                    district    court    nevertheless    remained                    steadfast  and  denied Precision's  October 7                    motion.      The   court   noted   that   the                    noncompliant motion did  not conform to Local                    Rule 11(b)  and  was, therefore,  a  nullity.                    The September 9 motion also lacked force,  as                    that  motion  was  neither served  nor  filed                    within the requisite 10-day period.                         10.October 13, 1993:   The court entered                            ________________                    a further judgment commemorating  the October                    12 order, as required by Fed.  R. Civ. P. 58.                    See Fiore  v. Washington County  Comm. Mental                    ___ _____     _______________________________                    Health  Ctr., 960  F.2d  229,  233 (1st  Cir.                    ____________                    1992) (en banc).                         11.November  5,  1993:   Precision filed                            __________________                    its  notice of  appeal, seeking  to challenge                    (a) the August 17 judgment, (b) the September                    22 order, and (c) the October 13 judgment.                                         II.                                         II.                                         ___                                       Analysis                                       Analysis                                       ________                                          A.                                          A.                                          __                    In  civil cases  in which  the United  States is  not a          party,  a notice  of  appeal must  be  filed within  thirty  days          following  the entry  of final  judgment.   See Fed.  R. App.  P.                                                      ___          4(a)(1).   The  requirement for  punctual filing  of a  notice of          appeal is obligatory and jurisdictional.  See Browder v. Illinois                                                    ___ _______    ________          Dep't  of Correction,  434  U.S. 257,  264  (1978); Feinstein  v.          ____________________                                _________          Moses, 951  F.2d 16, 19 (1st Cir.  1991).  Precision filed notice          _____          of the instant appeal on November 5, 1993   far  more than thirty                                          5          days  after the  entry of  the  August 17  judgment.2   Thus, the          threshold issue is whether some idiosyncratic feature of the case          breathed life into the (apparently tardy) notice of appeal.                    Appellant  offers a variety  of possible scenarios, all          of which implicate Fed. R.  Civ. P. 59(e).  In terms, a motion to          alter or amend a  judgment, made under that rule,  interrupts the          running  of the appeal period as long  as it is "served not later          than 10 days after entry of  the judgment."  Thereafter, an order          disposing  of  the  motion  restarts  the  appeal  period.    See                                                                        ___          Feinstein, 951 F.2d at 18; see also Fed. R. App. P. 4(a)(4).  The          _________                  ___ ____          rule's  10-day  window is  mandatory  and  jurisdictional.3   See                                                                        ___          Vargas v. Gonzalez, 975 F.2d 916, 917 (1st Cir. 1992); Barrett v.          ______    ________                                     _______          United States, 965 F.2d  1184, 1187 (1st Cir.  1992).  Thus,  the          _____________          period  set  for  prosecuting a  Rule  59(e)  motion  may not  be          extended.  See Fed. R. Civ. P. 6(b) (explaining that the district                     ___                                        ____________________               2The parties agree that final judgment entered on August 17,          1993.  Though the  district court entered an amended  judgment on          August 31, 1993, see  Chronology, supra, at No. 3,  the amendment                           ___              _____          served strictly as a means of clarification and did not alter the          parties' substantive rights under  the preexisting judgment.  The          settled rule is that the non-substantive revision of a previously          entered judgment  does not restart or otherwise affect the period          within  which  appellate  review must  be  sought.    See FTC  v.                                                                ___ ___          Minneapolis-Honeywell Co., 344  U.S. 206, 211-12  (1952).  It  is          _________________________          only when the judgment-issuing  court alters matters of substance          or resolves some genuine  ambiguity that the entry of  an amended          judgment winds the appeals clock anew.  See id.; see also Charles                                                  ___ ___  ___ ____ _______          v.  Daley, 799  F.2d 343,  348 (7th  Cir. 1986).   In  this case,              _____          Precision never has contended that entry of  the amended judgment          signalled the commencement of a new appeal period.               3The  timeliness of a Rule 59(e) motion is determined by the          date  of service, not  the date  of filing.   See  Perez-Perez v.                                                        ___  ___________          Popular  Leasing Rental, Inc., 993 F.2d 281, 283 (1st Cir. 1993);          _____________________________          Roque-Rodriguez  v. Lema Moya, 926 F.2d 103, 107 (1st Cir. 1991);          _______________     _________          Rivera v. M/T Fossarina, 840 F.2d 152, 154 (1st Cir. 1988).          ______    _____________                                          6          court "may not extend the time for taking any action" under  Rule          59(e)); see also de la Torre v. Continental Ins. Co., 15 F.3d 12,                  ___ ____ ___________    ____________________          14  (1st Cir. 1994);  Feinstein, 951  F.2d at  19; Rivera  v. M/T                                _________                    ______     ___          Fossarina, 840 F.2d 152, 154 (1st Cir. 1988).          _________                    This  is not to  say that a  motion for reconsideration          filed  after  the 10-day  window  closes  is completely  inutile.          While  such a  motion  will not  extend  the appeal  period,  the          district court,  so long  as it still  retains jurisdiction,  may          choose to  grant the requested relief.   See Jusino v. Zayas, 875                                                   ___ ______    _____          F.2d  986,  989-90 &amp;  n.3  (1st Cir.  1989)  (discussing district          court's inherent  power to  correct errors  in its  own decrees).          Moreover,  if  such  a motion  is  denied,  the  movant may  seek          appellate review of  the denial.   See Rodriguez-Antuna v.  Chase                                             ___ ________________     _____          Manhattan Bank Corp., 871 F.2d 1, 2 (1st Cir. 1989).  We caution,          ____________________          however,  that a timely appeal from an order denying a motion for          reconsideration brought other than  in conformity with Rule 59(e)          does not  "resurrect [the  appellant's] expired right  to contest          the merits  of the  underlying judgment,  nor bring  the judgment          itself before [the court of appeals] for review."  Id.                                                             ___                                          B.                                          B.                                          __                    It is against this tightly woven backdrop that  we turn          to appellant's  asseverational array.  Appellant's  central claim          is  that,   whatever  its  deficiencies  might   have  been,  the          noncompliant  motion was  a timely-filed  Rule 59(e)  motion and,          therefore, tolled the appeal  period in respect to the  August 17          judgment.  We do not agree.                                          7                    This  initiative depends  on  the  significance of  the          admitted  defect in  the  motion    the  motion plainly  did  not          satisfy  the   requirements  of  the   local  rules      and  the          supportability of the  lower court's response  to it.   Appellant          attempts to shrug off the matter of noncompliance, contending, in          effect, that Local  Rule 11(b)  is somewhat silly,  and that  the          district  court's slavish  adherence to  it sanctifies  "an empty          formality."                    We  think  appellant  presumes  too  much.    Rules  of          procedure  are vitally  important  in judges'  efforts to  manage          burgeoning caseloads  with some semblance of  efficiency.  Within          wide  limits, it  is for  courts, not  litigants, to  decide what          rules  are desirable  and how  rigorously to  enforce them.   See                                                                        ___          Maldonado-Denis  v. Castillo-Rodriguez,  ___ F.3d  ___,  ___ (1st          _______________     __________________          Cir.  1994)  [No.  93-2012, slip  op.  at  16]  ("The judge,  not          counsel, must run  the court and set the agenda.").   Valid local          rules  are an important vehicle  by which courts  operate.4  Such          rules carry the  force of law, see 12 Charles  A. Wright &amp; Arthur                                         ___          R. Miller, Federal Practice  &amp; Procedure   3153 (1973),  and they                     _____________________________          are binding upon  the litigants  and upon the  court itself,  see                                                                        ___          United  States v.  Diaz-Villafane,  874 F.2d  43, 46  (1st Cir.),          ______________     ______________          cert. denied, 483 U.S. 862 (1989).  Consequently, the court below          _____ ______          acted appropriately in refusing to disregard Local Rule 11(b).                                        ____________________               4This court has recently upheld the  validity of D.N.H. Loc.          R. 11(b), see Clausen v. Sea-3, Inc., ___ F.3d ___, ___ (1st Cir.                    ___ _______    ___________          1994) [No.  93-1106,  slip  op.  at  42-43],  and  appellant  has          advanced no plausible claim of invalidity.                                          8                    By  like  token, we  do not  discern  any error  in the          court's application  of the  rule.   District courts  enjoy broad          latitude  in administering  local  rules.   See United  States v.                                                      ___ ______________          Roberts, 978  F.2d 17,  20 (1st  Cir. 1992); Diaz-Villafane,  874          _______                                      ______________          F.2d at 46.  In the  exercise of that discretion, district courts          are entitled  to demand adherence to  specific mandates contained          in  the rules.  See, e.g., Clausen  v. Sea-3, Inc., ___ F.3d ___,                          ___  ____  _______     ___________          ___  (1st Cir.  1994) [No.  93-1106, slip  op. at  43]; Witty  v.                                                                  _____          Dukakis, 3 F.3d 517,  519 (1st Cir. 1993); Jardines  Bacata, Ltd.          _______                                    ______________________          v.  Diaz-Marquez, 878 F.2d 1555,  1560 (1st Cir.  1989); see also              ____________                                         ___ ____          Mendez v. Banco Popular de  Puerto Rico, 900 F.2d 4, 7  (1st Cir.          ______    _____________________________          1990) ("Rules are rules   and the parties must play by them.").                    In this  instance,  the  local  rules  explicitly  warn          litigants  that the  court will  "not accept  any motions  not in          compliance  with  procedures  outlined  in  [the  local  rules]."          D.N.H.  Loc. R. 11(a)(1).   This provision, aposematic  in and of          itself,  is  reinforced  by  a  further  provision  that  clearly          contemplates the striking of  noncompliant pleadings.  See D.N.H.                                                                 ___          Loc.  R. 2(f).5    Mindful of  this profusion  of  red flags,  we                                        ____________________               5Appellant senses a possible contradiction in the district's          local rules.   We perceive  no inconsistency.   While Local  Rule          2(f) instructs that  "[d]ocuments which fail  to comply with  the          provisions of these rules shall be filed by the clerk, subject to          being stricken by the court," Local Rule  11(a)(1) instructs that          "[t]he  Clerk shall not accept any motions not in compliance with          procedures outlined in these Rules."  The latter rule is narrowly          tailored and relates specifically to  motions.  Hence, it governs          in  cases  involving nonconforming  motions.    See generally  2B                                                          ___ _________          Norman J. Singer, Sutherland  Statutory Construction   51.05 (5th                            __________________________________          ed.  1992) (explaining  that, when  two  statutes are  in seeming          conflict, the more specific statute ordinarily controls).                                          9          cannot   say  that   the  judge   responded  inappropriately   to          appellant's breach of Local Rule 11(b).  See Clausen, ___ F.3d at                                                   ___ _______          ___ [slip op. at 43]  (holding that a district court, sitting  in          New  Hampshire,  is entitled  to  enforce  Local  Rule  11(b)  by          refusing  to accept a  noncompliant motion for  filing); see also                                                                   ___ ____          Atlas Truck Leasing, Inc. v. First NH Banks, Inc.,  808 F.2d 902,          _________________________    ____________________          903 (1st  Cir. 1987)  (holding, in analogous  circumstances, that          the trial court's application of a  rule will only be reversed if          its disposition  "results in  clear injustice").   Indeed,  it is          difficult to imagine  how a judge could  be found to  have abused          his  discretion in  following the  very course  of action  openly          advocated by the court's rules.                                          C.                                          C.                                          __                    Appellant's   next   argument    is   ingenious,    but          unpersuasive.   Although  phrased in  various ways,  the argument          amounts to a claim  that the September 9 motion,  see Chronology,                                                            ___          supra  at  No.  5,  somehow  related  back  to  the date  of  the          _____          noncompliant motion or  served to reinstate that  motion nunc pro                                                                   ____ ___          tunc.          ____                    The short, dispositive answer to this claim is that the          local  rules do  not accord  a noncompliant  motion any  force or          effect.   To the contrary,  the rules rather conspicuously convey          the court's intention to treat  noncompliant motions as null  and          void.  See  D.N.H. Loc.  R. 11(a)(1) (stating  that the clerk  of                 ___          court shall  refuse to  accept noncompliant motions  for filing);          see  also  D.N.H.  Loc.  R. 2(f)  (explaining  that  noncompliant          ___  ____                                          10          documents are subject to being stricken).                    If there is any  lingering doubt as to this  reading of          the local rules   and we see no room for any such dubiety   it is          dispelled by  the instruction  contained in the  district court's          order of  refusal,  Chronology, supra,  at No.  4, which  stated:                                          _____          "When/if   resubmitted,    the   [motion]   should    contain   a          recertification  of service  on opposing  counsel/parties."   The          order of refusal also discussed the possibility that resubmission          of the motion might "bring the filing outside of a  specific date          as set by court rule."  In other words, the court made plain that          the  old motion  was dead  and that  a new  motion, having  a new          filing  date,  would  be  required.    Since  a district  court's          plausible  construction  of its  own  local rule  is  entitled to          considerable  deference, see,  e.g.,  City of  Waltham v.  United                                   ___   ____   ________________     ______          States Postal Serv., 11  F.3d 235, 243 (1st Cir.  1993); see also          ___________________                                      ___ ____          12  Wright  &amp; Miller,  supra,    3153  (1973), this  viewpoint is                                 _____          telling.                    To sum up, the  noncompliant motion was a nullity.   It          follows  inexorably that  the September 9  motion did  not relate          back to the earlier motion or supplant it nunc pro tunc.  Rather,                                                    ____ ___ ____          the new motion had to  be evaluated on its  own merit, not as  an          extension of the noncompliant motion.  So viewed, the September 9          motion cannot serve as a vehicle for restarting the appeal period          because  it was filed beyond the 10-day period stipulated in Rule          59(e).                                          D.                                          D.                                          __                                          11                    Appellant's  next  attempt  to   reach  the  August  17          judgment smacks of trying to cram a square peg into a round hole.          Precision  posits  that  an  appellate court  may  grant  special          dispensation from the temporal requirement for docketing a notice          of  appeal "where  an appellant  has filed  a belated  motion for          reconsideration and relied on the district court's statement that          the motion  was timely in forgoing the timeous filing of a notice          of appeal."  Feinstein, 951 F.2d at 19; see also Thompson v. INS,                       _________                  ___ ____ ________    ___          375 U.S. 384, 386-87 (1964) (per  curiam).  It then hints that it          is  deserving of sanctuary under  this principle.   We agree with          appellant's premise   a limited  exception does exist for "unique          circumstances"    but we disagree  with its conclusion  that this          appeal is  eligible  for  such special  swaddling.    We  explain          briefly.                    There are two preconditions  to the availability of the          "unique circumstances" exception.   First, the exception "applies          only where a party has performed an act which,  if properly done,          would  postpone  the  deadline  for filing  his  appeal  and  has          received specific  assurance by a judicial officer  that this act          has been properly done."  Osterneck v. Ernst &amp; Whinney,  489 U.S.                                    _________    _______________          169,  179 (1989).  Second,  the court's action  or statement must          have occurred at a point when, had the party not been led astray,          it would have  been able to file a timeous notice of appeal.  See                                                                        ___          Feinstein,  951 F.2d  at  20.    Here,  neither  precondition  is          _________          satisfied, for the district  court did nothing to  lull appellant          into inactivity.                                          12                    Appellant's contrary claim has two prongs.  One centers          around the  district court's  initial denial  of the  September 9          motion.  See  Chronology, supra, at No. 7.   This prong is easily                   ___              _____          blunted.    After all,  the  court ruled  unequivocally  that the          motion  was untimely vis-a-vis the final judgment.  The fact that          the  court  made  an  erroneous  calculation  in  the  course  of          announcing  its ruling was unfortunate   but, given the denial of          the motion, the bevue could not  in any way have lulled appellant          into a false sense of security regarding filing deadlines.                    The  remaining  prong of  appellant's claim  focuses on          Precision's  ostensible  belief  that,  when  the district  court          rejected the noncompliant motion, it (Precision) could refile the          motion nunc pro tunc after paying belated obeisance to Local Rule                 ____ ___ ____          11(b).  But  if appellant  harbored this belief,  it was  wishful          thinking   not premised  on anything that the district  court did          or said.  Indeed, the order  of refusal expressly stated that "if          the resubmission of  said pleading will bring the  filing outside          of a specific date as  set by court rule or court order, a motion          for extension must accompany the refiling."                    That effectively ends the matter.  Where a party claims          to have relied to its detriment  on a trial judge's statement  or          action,  it  can   derive  no  benefit  unless  its  reliance  is          objectively reasonable.  See Feinstein, 951 F.2d at 20; Pinion v.                                   ___ _________                  ______          Dow Chemical, 928 F.2d  1522, 1532 (11th Cir.), cert  denied, 112          ____________                                    ____  ______          S.  Ct. 438 (1991).   Here,  especially in  light of  the court's          specific admonition,  Precision could not  reasonably have relied                                          13          on  the refusal  of the  noncompliant motion  as evidence  that a          resubmission would be accepted nunc pro tunc.                                         ____ ___ ____                    Appellant's remaining attempts  to reach the underlying          judgment  are meritless and do  not require discussion.   We lack          jurisdiction to review the August 17 judgment.                                          E.                                          E.                                          __                    Appellant also  contends that the district  court erred          in  denying  its two  later  motions  for reconsideration.    See                                                                        ___          Chronology, supra, at Nos. 5-6, 8.  Although the notice of appeal                      _____          is timely as to these  rulings,6 it does not serve to  reopen the          expired  appeal period  vis-a-vis the  underlying judgment.   See                                                                        ___          Rodriguez-Antuna, 871 F.2d at 2; Appeal of Sun Pipe Line Co., 831          ________________                 ___________________________          F.2d  22,  24-25 (1st  Cir. 1987),  cert.  denied, 486  U.S. 1055                                              _____  ______          (1988).     In   the  circumstances   of  this   case,  appellate          jurisdiction  is  restricted to  the September  22 order  and the          October 13 judgment.                    As  a practical  matter, the  October 13  judgment adds          very  little to the mix.  That judgment memorializes the district          court's denial of the  October 6 motion for reconsideration.   To                                        ____________________               6The district court  denied the September 9 motion  by order          entered September 22, 1993.  See Chronology, supra, at No. 7.  We                                       ___             _____          assume arguendo, favorably to  appellant, that the ensuing motion                 ________          for  reconsideration, filed  on  October 6,  see  id. at  No.  8,                                                       ___  ___          suspended  the running  of the  appeal period  with respect  to a          possible appeal of  the September 22 order.  See  Fed. R. Civ. P.                                                       ___          59(e); Fed. R.  App. P. 4(a)(1).  On this  assumption, the appeal          period began to run afresh on October 13, following the denial of          appellant's October 6  motion.   The notice of  appeal was  filed          within thirty days of  this date.  See Chronology,  supra, at No.                                             ___              _____          11.                                          14          the extent that  the motion successfully  sought correction of  a          misstatement  made by  the  district court  in  the September  22          order, see Chronology, supra, at No. 7, appellant  prevailed, and                 ___             _____          cannot  appeal.    To  the  extent  that  the  October  6  motion          unsuccessfully sought a change  in the bottom-line disposition of          the case,  the court's rejection of  it stands on a  par with the          court's rejection of the  September 9 motion for reconsideration,          memorialized  in the September 22 order.  Accordingly, we discuss          only the September motion and order   but we do so on the express          understanding that our comments  apply with undiminished force to          what transpired in October.                    The September  9 motion sought  reconsideration of  the          underlying judgment.  Under  First Circuit precedent, an untimely          Rule  59(e) motion may be dismissed summarily by the trial court.          See, e.g., Rodriguez-Antuna, 871  F.2d at 2-3; Silk v.  Sandoval,          ___  ____  ________________                    ____     ________          435 F.2d 1266,  1267 (1st Cir.  1971).  But  the court, if it  so          elects, may use even a belated Rule 59(e) motion as a vehicle for          rethinking  its  original ruling,  so  long  as the  court  still          retains  jurisdiction over the case.  See, e.g., United States v.                                                ___  ____  _____________          789 Cases  of Latex  Surgeon  Gloves, 13  F.3d 12,  14 (1st  Cir.          ____________________________________          1993); Jusino, 875 F.2d at 989-90;  see also 11 Wright &amp;  Miller,                 ______                       ___ ____          supra,   2858 &amp; n.22 (1973 &amp; Supp. 1994).          _____                    In  this instance,  the  lower court  chose the  former          option.  Even had the court chosen the latter option, however, an          equally unhappy fate would have awaited the movant.   In the last          analysis, the court  of appeals will overturn a  district court's                                          15          denial of a motion for reconsideration only if the record evinces          a clear abuse of discretion.  See Fragoso v. Lopez, 991 F.2d 878,                                        ___ _______    _____          888 (1st Cir. 1993); Weinberger v. Great Northern  Nekoosa Corp.,                               __________    _____________________________          915 F.2d 518, 528-29 (1st Cir. 1991); Sun Pipe Line,  831 F.2d at                                                _____________          25.   This is a steep  climb   and appellant  lacks the necessary          horsepower to attain such altitudes.                    In its motion, Precision asked that the order to compel          arbitration  be reexamined for  two reasons.   First, it asserted          that  the  court reached  an  erroneous  legal result,  pure  and          simple.  Insofar as the motion was predicated on this ground, the          court  appropriately   rejected  it:    a   trial  court,  having          considered  the parties' arguments and ruled on them, is under no          obligation  to repastinate  well-ploughed soil simply  because an          unsuccessful  litigant balks at taking  "no" for an  answer.  See                                                                        ___          National  Metal  Finishing  Co. v.  BarclaysAmerican  Commercial,          _______________________________     _____________________________          Inc., 899  F.2d 119, 123  (1st Cir.  1990); Van Skiver  v. United          ____                                        __________     ______          States, 952 F.2d 1241,  1243 (10th Cir. 1991), cert.  denied, 113          ______                                         _____  ______          S. Ct. 89 (1992).                    Appellant also requested reconsideration in light of  a          ruling  handed down  by  the National  Mediation  Board (NMB)  on          August 11,  1993, while ALPA's  motion for  summary judgment  was          pending in the district court.  This constituted new matter.  The          issue  before  the NMB  concerned  the  representation of  pilots          employed  by Precision  and by  an affiliated  airline.   The NMB          determined   that   the   two   airlines   comprised  a   "single          transportation  system" for collective  bargaining purposes under                                          16          the Railway Labor Act, 45 U.S.C.    151-188 (1988), and ordered a          representation   election.      Seizing   on   this  development,          appellant's  motion   posited  that  arbitrating   the  grievance          underlying this case with a representation election in the offing          would infringe upon the jurisdiction of the NMB.                    This  contention   comprises  more  bleat   than  wool.          Precision neglects  to mention that the  NMB's order specifically          provides  that  "[p]ending  resolution  of   this  representation          dispute,  ALPA's  certification  [as  the  collective  bargaining          representative for Precision's pilots] remains in effect."  Given          the  untimeliness  of  appellant's  motion and  the  NMB's  clear          statement  anent ALPA's  representational  authority, we  find no          hint of abused  discretion in the district court's order refusing          reconsideration.                                         III.                                         III.                                         ____                                      Conclusion                                      Conclusion                                      __________                    We  need go  no further.7    When Precision  elected to                                        ____________________               7    The current  version of Fed. R. Civ.  P. 5(e) provides,                    inter  alia,  that "[t]he  clerk  shall  not refuse  to                    _____  ____                    accept for filing any  paper presented for that purpose                    solely because it  is not presented  in proper form  as                    required  by   these  rules  or  any   local  rules  or                    practices."   Appellant  neither cited  this  rule  nor                    relied  on it in any way and has, therefore, waived any                    potential benefit which might accrue from it.  For this                    reason, we do not refer to the rule in the body of this                    opinion.   But we note that, in all events, the clerk's                    refusal to accept the noncompliant motion for filing in                    this case was backed by the judge's specific order, see                                                                        ___                    Chronology,  supra, at  No.  4, leaving  the record  in                                 _____                    essentially the  same posture as though  the motion had                    been  received  and  then  stricken.   Any  error  was,                    therefore, harmless.                                          17          disregard  Local Rule  11(b),  it flew  headlong into  unfriendly          skies.   In the aftermath of this  pilot error, we lack appellate          jurisdiction  to review  the underlying  judgment on  the merits.          Substantively, then, our  scrutiny must be confined to the denial          of  two  post-judgment motions.    On  that circumscribed  basis,          Precision's appeal stalls.          Affirmed.          Affirmed.          ________                                          18

